995 F.2d 1063
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Harold Junior LAKEY, Petitioner-Appellant,v.Larry W. HUFFMAN;  Attorney General of the Commonwealth ofVirginia, Respondents-Appellees.
    No. 92-7233.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  February 18, 1993.Decided:  June 17, 1993.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Jackson L. Kiser, District Judge.  (CA-90-370-R)
      Harold Junior Lakey, Appellant Pro Se.
      Katherine Baldwin Toone, Office of the Attorney General of Virginia, Richmond, Virginia, for Appellees.
      W.D.Va.
      DISMISSED.
      Before PHILLIPS, MURNAGHAN, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Harold Junior Lakey seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2254 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Lakey v. Huffman, No. CA-90-370-R (W.D. Va.  Nov. 18, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    